      Case 3:06-cr-00268-JBA          Document 388        Filed 01/16/07      Page 1 of 10




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Crim. No. 3:06CR268 (PCD)
                                             :
ANGEL AVILES                                 :

             OMNIBUS RULING ON DEFENDANT’S PRETRIAL MOTIONS

       Now pending are Defendant Angel Aviles’s Motion for Disclosure of Statements of Co-

Conspirators [Doc. No. 210], Motion to Compel Notice of Intention to Use Evidence [Doc. No.

215], Motion for Disclosure of Rule 16(A) and Jencks Act Material [Doc. No. 216], Motion for

Notice of Intent to Use Hearsay Evidence [Doc. No. 217], Motion for Disclosure of

Demonstrative Evidence [Doc. No. 218], Motion for Release of Brady Materials [Doc. No. 219],

Motion for Giglio Material [Doc. No. 220], Motion for Production of Agent’s Notes [Doc. No.

222], and Motion for Bill of Particulars [Doc. No. 223]. For the following reasons, these

motions are denied.

I.     BACKGROUND

       On October 4, 2006, a federal grand jury in Bridgeport, CT returned a twenty-two count

indictment against Defendant Aviles and thirty-four other individuals charging them with various

narcotics offenses. The indictment charged Defendant Aviles only in Count Seventeen, along

with co-defendants Miguel Acevedo, Thomas Perez, and Benigno Malave, with possession with

the intent to distribute and distribution of five grams or more of cocaine base on or about January

23, 2006, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(iii) and 18 U.S.C. § 2 (aiding

and abetting). On October 6, 2006, Defendant Aviles was arrested and presented on this charge.

He was released on a $100,000 non-surety bond and remains on pretrial release. On October 23,
       Case 3:06-cr-00268-JBA           Document 388         Filed 01/16/07      Page 2 of 10




2006, Defendant Aviles entered a not-guilty plea to Count Seventeen of the indictment.

       On October 23, 2006, the Court granted the Government’s Motion to Toll the Discovery

Period in this case, so the ten-day time period under the District Court’s Standing Order on

Pretrial Discovery in Criminal Cases (the “Standing Order”) did not begin to run until October

19, 2006. In compliance with the Standing Order, the Government sent three separate discovery

packages to each of the Defendants in this case on October 27, 2006, November 3, 2006, and

November 8, 2006. (Gov’t’s Omnibus Resp. to Def.’s Pretrial Mots. at 1.) Included in these

discovery packages were the following materials: a full set of the recordings of all intercepted

telephone calls in this case; a set of the calls involving each individual defendant; a written set of

preliminary line sheets for the calls involving each defendant; all of the investigative reports

created to date in the investigation; all of the laboratory reports received to date related to the

seized narcotics in the case; all of the affidavits, applications, and orders related to every pen

register authorization and wire interception authorization issued in this case; all of the affidavits

related to the arrest and search warrants issued in this case; all of the sealing motions and orders

related to the original recordings of the wire interceptions; and detailed discovery letters

summarizing the discovery material provided and responding to each of the items enumerated in

the Standing Order. (Id. at 1-2.) Defendant Aviles filed his pretrial motions on October 30,

2006, apparently before receiving the bulk of discovery materials provided by the Government to

all Defendants in this action which, as discussed below, render many of these motions moot.

II.    DISCUSSION

       A.      Motion for Disclosure of Statements of Co-Conspirators

       Defendant Aviles moves for an order directing the Government to produce any oral or


                                                  -2-
      Case 3:06-cr-00268-JBA           Document 388         Filed 01/16/07        Page 3 of 10




written statements of any purported co-conspirators, including statements made during and in

furtherance of the charged conspiracy and statements made to law enforcement officers at the

time of the individual’s arrest. This motion fails for several reasons, first because Defendant

Aviles is not charged in the main conspiracy count. Mr. Aviles has been charged with

involvement in one narcotics transaction on or around January 23, 2006, and the Government has

disclosed the investigative reports related to that transaction. Furthermore, the Government

maintains that it has already disclosed to the defendants the statements of the co-conspirators,

which are primarily comprised of the recordings of the intercepted wire communications over the

targeted cellular telephones. (Gov’t’s Resp. at 3-4.) The Government has also turned over

preliminary transcriptions of the intercepted telephone calls to those defendants intercepted,

which does not include Defendant Avile, and all of the investigative reports created to date,

which detail any statements made by co-conspirators at the time of their arrests. To the extent

that any Defendant proceeds to trial in this case, the Government asserts that it will disclose, well

in advance of trial, exactly which of the intercepted telephone calls will be offered as full exhibits

at trial and which co-conspirator admissions, if any, will be used. (Id. at 4.)

       Insofar as Defendant moves for the disclosure of confessions, admissions, and statements

of co-conspirators, such statements are clearly not discoverable under Second Circuit law.

United States v. Percevault, 490 F.2d 126, 131 (2d Cir. 1974) (holding that statements of co-

conspirators are not discoverable before trial under Fed. R. Crim. P. 16). The Jencks Act, 18

U.S.C. § 3500, prohibits the Court from ordering disclosure of such statements prior to the

declarants’ testifying for the Government at trial. Percevault, 490 F.2d at 129-131. See also In re

United States, 834 F.2d 283, 286-87 (2d Cir. 1987).


                                                 -3-
      Case 3:06-cr-00268-JBA          Document 388         Filed 01/16/07      Page 4 of 10




       The Government maintains that to the extent any persons deemed to be co-conspirators

will be called as government witnesses at trial, it will provide in accordance with the Jencks Act

and the Standing Order any relevant statements made by them and impeachment material as to

them that has not already been disclosed. (Gov’t’s Resp. at 5.) Accordingly, the Defendant’s

Motion for Disclosure of Statements of Co-conspirators [Doc. No. 210] is denied.

       B.      Motion to Compel Notice from the Government of Intention to Use Evidence

       Defendant Aviles moves, pursuant to the Fifth and Sixth Amendments of the U.S.

Constitution and Fed. R. Crim. P. 12(d)(2), to compel the Government to disclose the evidence it

intends to present at trial so that he may move to suppress that evidence pursuant to Fed. R.

Crim. P. 12(d)(3), if he deems such a suppression motion to be warranted. Following the filing

of this motion, the Government, via the October 27, 2006, November 3, 2006, and November 8,

2006 discovery packages, disclosed all of the evidence that presently exists against Defendant

Aviles. (Gov’t’s Resp. at 6.) According to the Government, the discovery packages included all

of the details surrounding the January 23, 2006 transaction which is the grounds for the charge

against Defendant Aviles, and the physical evidence related to that transaction is available for his

immediate review. (Id.) The Government also asserts that it will produce to the Defendant any

additional information as becomes available in accordance with its continuing discovery

obligations. Accordingly, Defendant Aviles has sufficient information at this time to determine

whether to file a suppression motion in this case. This motion [Doc. No. 215] is hereby denied

as moot.

       C.      Motion for Advance Notice of Jencks Material

       Defendant Aviles moves, pursuant to Fed. R. Crim. P. 16(a) and the Jencks Act, 18


                                                -4-
       Case 3:06-cr-00268-JBA          Document 388         Filed 01/16/07      Page 5 of 10




U.S.C. § 3500, for an order directing the Government to produce all Jencks Act materials,

including grand jury testimony of all potential government witnesses, all written materials

concerning all prosecution witnesses, including any and all reports, memoranda, notes and

interview summations concerning any actual and potential government witnesses, not less than

30 days prior to jury selection. The Jencks Act provides in relevant part that “no statement or

report in the possession of the United States which was made by a Government witness or

prospective Government witness (other than the defendant) shall be the subject of subpena [sic],

discovery, or inspection until said witness has testified on direct examination in the trial of the

case.” § 3500(a). See also Fed. R. Crim. P. 26.2 (2001). Defendant Aviles claims that under

Fed. R. Crim. P. 16(d), the Court may modify any protective order previously issued upon the

making of a “sufficient showing” by a movant seeking discovery. (Def.’s Mem. in Supp. of Mot.

for Advance Notice of Jencks Material at 1.) Defendant’s reliance on Rule 16, however, is

misplaced. The Second Circuit has repeatedly held that “the Jencks Act prohibits a District

Court from ordering the pretrial disclosure of witness statements.” United States v. Coppa, 267

F.3d 132, 145 (2d Cir. 2001) (reversing district court’s decision to order early disclosure of

Jencks Act material). See also In re United States, 834 F.2d at 286-87 (granting mandamus to

vacate order requiring production of witness statements); United States v. Percevault, 490 F.2d at

131 (reversing order suppressing witnesses’ testimony on the grounds that the Government did

not produce witness statements in advance of trial despite being ordered to do so). Defendant’s

Motion for Advance Notice of Jencks Act Material [Doc. No. 216] is therefore denied.

       D.      Motion for Notice of Intent to Use Residual Hearsay Exception

       Defendant Aviles moves for an order directing the Government to provide notice of its


                                                 -5-
      Case 3:06-cr-00268-JBA          Document 388         Filed 01/16/07      Page 6 of 10




intent to offer into evidence any statement not specifically covered by the hearsay exceptions set

forth in Fed. Rules of Evid. 803 and 804. Rule 807 is a residual hearsay exception for the

admission of a statement not specifically covered by the exceptions listed in Rules 803 and 804;

to admit a statement under Rule 807, the Government must notify the Defendant “sufficiently in

advance of the trial or hearing to provide the adverse party with a fair opportunity to prepare to

meet it....” Fed. R. Evid. 807. The Government asserts that, at the present time, it knows of no

such statements. Accordingly, Defendant Aviles’s Motion for Intent to Use Residual Hearsay

Exception [Doc. No. 217] is denied as moot. If at some point in the future the Government

becomes aware of the existence of residual hearsay statements that could be used at trial, it shall

immediately disclose its intention to use such statements to Defendant at that time.

       E.      Motion for Pretrial Disclosure of Demonstrative Evidence

       Defendant Aviles moves for an order directing the Government to produce any

“demonstrative evidence,” including but not limited to photographs, recordings, charts, drawings,

diagrams, and models, it intends to offer at trial. The Defendant distinguishes this

“demonstrative evidence,” which he describes as having “illustrative force,” from what he calls

“real evidence,” such as the narcotics, videotapes, audio recordings, photographs, and other

evidence the Government will seek to offer as full exhibits at trial and which is available to be

viewed and inspected by Defendant’s counsel at any time. (Def.’s Mot. for Pretrial Disclosure of

Demonstrative Evidence at 1.) The Government states that, at the present time, to the extent any

of the requested evidence exists, it has either been provided to Defendant in discovery or is

available to be viewed by his counsel. (Gov’t’s Resp. at 8.) The Government also asserts that as

soon as it prepares any organizational charts, maps, diagrams, or any other such evidence to be


                                                -6-
      Case 3:06-cr-00268-JBA           Document 388        Filed 01/16/07      Page 7 of 10




used at trial, it will notify defense counsel and provide him with an opportunity to review it. (Id.)

Accordingly, Defendant’s Motion for Pretrial Disclosure of Demonstrative Evidence [Doc. No.

218] is denied as moot.

       F.      Motion for Brady Material

       Defendant Aviles moves for an order directing the Government to disclose and provide to

the Defendant all material which is exculpatory or otherwise favorable to the Defendant or which

can be used to impeach or discredit Government witnesses on the issue of guilt or punishment

(“Brady material”). See Brady v. Maryland, 373 U.S. 83 (1963); United States v. Agurs, 427

U.S. 97 (1976). The Government asserts that it has fully and completely complied with the

Standing Order, which explicitly requires the disclosure of such information. See United States

v. Young & Rubicam, Inc., 741 F. Supp. 334, 351-52 (D. Conn. 1990) (denying motion for Brady

material based on “government’s representation that it has disclosed all exculpatory portions of

any statements and that it will disclose all witnesses’ Jencks material in advance of their

testimony”). Accordingly, Defendant’s Motion for Brady Material [Doc. No. 219] is also denied

as moot.

       G.      Motion for Giglio Material

       Defendant Aviles moves for an order directing the Government to disclose all material

required under United States v. Giglio, 405 U.S. 150 (1972) and Napue v. Illinois, 360 U.S. 264

(1959). Defendant maintains that his counsel had been in contact with the Government seeking

such information but that it had not been provided as of his filing this motion on October 30,

2006. (Def.’s Mot. for Giglio Material at 3.) The Government asserts that it will immediately

disclose any additional Giglio material not already disclosed. However, at the present time, there


                                                 -7-
      Case 3:06-cr-00268-JBA          Document 388         Filed 01/16/07      Page 8 of 10




is only one individual, identified as “CS” in paragraph 170 of the April 10, 2006 wiretap affidavit

related to co-defendant Milton Roman’s cellular telephones, who could possibly testify as a

cooperating witness. Therefore, Defendant’s Motion for Giglio Material [Doc. No. 221] is

denied as moot. As soon as the Government determines whether “CS” will testify at any trial

involving Defendant Aviles, it shall immediately disclose any relevant Giglio material and, if

necessary, seek a protective order authorizing it to withhold the disclosure of identifying

information related to “CS.” (Gov’t’s Resp. at 9-10.)

       H.      Motion for Production of Agent’s Notes

       Defendant Aviles moves, pursuant to 18 U.S.C. § 3500(d), Fed. R. Crim. P. 26.2(f), and

Jencks v. United States, 353 U.S. 657 (1957), for the production of any notes taken by a law

enforcement officer at any interview involving Defendant Aviles or any potential testifying

witness pertaining to Defendant Aviles. This request is premature, as no such interview has

occurred as of this time. (Gov’t’s Resp. at 10.) Should the Government engage in a proffer

session with the Defendant or any other witness who will testify against him at any trial in this

case, the Government shall, in accordance with its obligations under the Jencks Act, produce to

the Defendant the investigative report related to that interview. If in the future the Defendant

would like copies of any notes taken by a law enforcement officer during any such interview, he

should request such notes from the Government at that time. At this time, Defendant’s Motion

for Production of Agent’s Notes [Doc. No. 222] is denied as moot without prejudice to renewal.

       I.      Motion for Bill of Particulars

       Defendant Aviles moves, pursuant to the Fifth and Fourteenth Amendments to the U.S.

Constitution and Fed. R. Crim. P. 7(f), for an order requiring the Government to furnish him with


                                                -8-
      Case 3:06-cr-00268-JBA           Document 388        Filed 01/16/07      Page 9 of 10




a bill of particulars providing a list of each transaction in which the government claims

Defendant Aviles was involved, including the date, location, and nature of each transaction, as it

pertains to evidence to be offered against him at trial. A bill of particulars is granted where

necessary to inform defendants off the charges against them with sufficient precision to enable

them to prepare their defense, to avoid or minimize the danger of surprise at trial, or to enable

them to plead their acquittal or conviction in bar of further prosecution for the same offense

when the indictment itself is too vague for such purposes. United States v. Bortnovsky, 820 F.2d

572, 574 (2d Cir. 1987). See also Wong Tai v. United States, 273 U.S. 77, 82 (1927); United

States v. Young & Rubicam, 741 F. Supp. at 349. The District Court “has the discretion to deny

a bill of ‘if the information sought is provided in the indictment or in some acceptable alternate

form.’” United States v. Barnes, 158 F.3d 662, 665 (2d Cir. 1998) (citing United States v.

Bortnovsky, 820 F.2d at 574). A Defendant is not entitled to a bill of particulars where the

indictment adequately advises him of the crimes of which he is accused and where he has already

received a “wealth of evidentiary detail,” such as electronic intercepts, search evidence,

supporting affidavits, and arrest and incident reports, from the Government. United States v.

Torres, 901 F.2d 205, 233-34 (2d Cir. 1990).

       In this case, Count Seventeen of the Indictment, the only count with which Defendant

Aviles is charged, specifies the transaction in which the Government claims the Defendant was

involved. Count Seventeen specifically alleges that, on or about January 23, 2006, Defendant

Aviles, along with other named co-defendants, possessed with the intent to distribute and

distributed five grams or more of cocaine base. Defendant Aviles was not charged in the

conspiracy count of the indictment. Defendant Aviles has therefore been provided through the


                                                 -9-
       Case 3:06-cr-00268-JBA         Document 388         Filed 01/16/07      Page 10 of 10




charging document with specific information regarding the transaction in which the Government

alleges he was involved, and so a bill of particulars is not warranted in this instance.

Furthermore, the Government has provided substantial discovery to the Defendants in this action

so far, thereby adequately apprising Defendant Aviles of the charges against him, minimizing the

danger of unfair surprise, and protecting his rights under the Double Jeopardy Clause.

Defendant’s Motion for Bill of Particulars [Doc. No. 223] is therefore denied.

III.    CONCLUSION

        For the foregoing reasons, Defendant Aviles’s Motion for Disclosure of Statements of

Co-Conspirators [Doc. No. 210], Motion for Advance Notice of Jencks Act Material [Doc. No.

216], and Motion for Bill of Particulars [Doc. No. 223] are denied. Defendant Aviles’s Motion

to Compel Notice from the Government of Intention to Use Evidence [Doc. No. 215], Motion for

Intent to Use Residual Hearsay Exception [Doc. No. 217], Motion for Pretrial Disclosure of

Demonstrative Evidence [Doc. No. 218], Motion for Brady Material [Doc. No. 219], Motion for

Giglio Material [Doc. No. 221], and Motion for Production of Agent’s Notes [Doc. No. 222] are

denied as moot.

        SO ORDERED.

        Dated at New Haven, Connecticut, on this 16th day of January, 2007.


                                                                             /s/
                                                                      Peter C. Dorsey
                                                                      United States District Judge




                                                -10-
